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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


  YUDY HERNANDEZ,                                              CASE NO.

         Plaintiff,

  vs.

  BRINKER FLORIDA, INC., a Foreign Profit
  Corporation D/B/A CHILI’S

        Defendant.
  ____________________________________________/

                          COMPLAINT FOR DECLARATORY AND
                      INJUNCTIVE RELIEF, AND JURY TRIAL DEMAND

         Plaintiff, YUDY HERNANDEZ, through undersigned counsel, sues Defendant,

  BRINKER FLORIDA, INC., a foreign profit corporation d/b/a CHILI’S (hereinafter referred to as

  “CHILI’S”), for declaratory and injunctive relief, and damages, and alleges as follows:

  This action is brought under Title III of the Americans with Disabilities Act (“ADA”), that is

  codified in 42 U.S.C. §§12181-12189.

  1)     This action is also brought pursuant to 28 C.F.R. Part 36.

  2)     This Court has jurisdiction over this case based on federal question jurisdiction, as provided

  in 28 U.S.C. §1331 and the provisions of the ADA.

  3)     Furthermore, because this Court has jurisdiction over the ADA claim, the Court has

  supplementary jurisdiction over Plaintiff’s common law tort claim pursuant to 28 U.S.C. §1367.

  4)     Plaintiff is sui juris, and she is disabled as defined by the ADA and ADA Amendments Act

  of 2008, 42 U.S.C. §12101 (“ADAAA”).

  5)     Plaintiff seeks declaratory and injunctive relief pursuant to 28 U.S.C. §§ 2201 and 2202.



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  6)     Plaintiff desires to prevent discrimination and demands equal access to Defendant’s

  internet website to purchase a meal.

  7)     Plaintiff also seeks declaratory and injunctive relief for trespass against the Plaintiff’s

  computer. The computer is Plaintiff’s personal property, and a claim for trespass attached to same.

  8)     The Defendant is also liable for compensatory damages to Plaintiff as a result of the

  trespass to Plaintiff’s personal property.

  9)     The remedies provided under common law for trespass are not exclusive, and same may

  be sought in connection with suits brought under the ADA.

  10)    Venue is proper in the Southern District of Florida, Miami-Dade Division, since all events,

  actions, injuries, and damages complained of herein occurred in the Southern District of Florida.

  11)    Furthermore, Plaintiff is a resident of Miami-Dade County which falls within the Miami

  Division of the Southern District of Florida.

  12)    At all relevant times, Plaintiff is and was visually impaired and has rhegmatogenous retinal

  detachment of the right eye, proliferative vitreoretinopathy that developed as a complication of her

  rhegmatogenous retinal detachment and prevents the successful surgical repair of her retina,

  aphakia, band keratopathy, and ocular hypertension that substantially impairs Plaintiff’s vision.

  13)    Plaintiff’s visual impairment interferes with her day-to-day activities and causes limitations

  in visualizing her environment. As such, Plaintiff is a member of a protected class under the ADA,

  42 U.S.C. § 12102(1) - (2), the regulations implementing the ADA set forth at 28 CFR §§ 36.101,

  et seq., and in 42 U.S.C. 3602, §802(h).

  14)    In addition, Plaintiff is an advocate of the rights of similarly situated disabled persons. As

  such is a “tester” for the purposes of asserting her civil rights and monitoring, ensuring, and

  determining whether places of public accommodation and/or their respective and associated


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  websites are in compliance with the ADA and any other applicable disability laws, regulations,

  and ordinances.

  15)    Plaintiff is limited in the performance of major life activities due to her visual disability

  and she requires assistive technologies, auxiliary aids, and services for effective communication,

  including communication in connection with her use of a computer.

  16)    Plaintiff uses the computer regularly, but due to her visual disability, Plaintiff cannot use

  her computer without the assistance of appropriate and available auxiliary aids, screen reader

  software, and other technology and assistance. In order to assist her, Plaintiff uses ChomeVox

  screen reader software that is readily available commercially. As background, screen reader

  software translates the visual internet into an auditory equivalent. The software reads the content

  of a webpage to the user at a rapid pace.

  17)    “The screen reading software uses auditory cues to allow a visually impaired user to

  effectively use websites. For example, when using the visual internet, a seeing user learns that a

  link may be ‘clicked,’ which will bring her to another webpage, through visual cues, such as a

  change in the color of the text (often text is turned from black to blue). When the sighted user's

  cursor hovers over the link, it changes from an arrow symbol to a hand. The screen reading

  software uses auditory -- rather than visual -- cues to relay this same information. When a sight

  impaired individual reaches a link that may be ‘clicked on,’ the software reads the link to the user,

  and after reading the text of the link says the word ‘clickable.’…Through a series of auditory cues

  read aloud by the screen reader, the visually impaired user can navigate a website by listening and

  responding with her keyboard.” Andrews v. Blick Art Materials, LLC, 17-CV-767, 2017 WL

  6542466, at *6-7 (E.D.N.Y. Dec. 21, 2017).




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  18)    Plaintiff frequently accesses the internet. Because she is significantly and permanently

  visually disabled, to effectively communicate and comprehend information available on the

  internet and thereby access and comprehend websites, Plaintiff uses commercially available screen

  reader software to interface with the various websites.

  19)    Defendant, CHILI’S, is a foreign profit corporation authorized to do business and doing

  business in the State of Florida.

  20)    Defendant, CHILI’S, is a company that sells appetizers, fajitas, burgers, chicken crispers,

  steaks, ribs, chicken, seafood, quesadillas, sandwiches, salads, soups, alcohol, desserts, sides,

  sauces, and beverages. There is a retail location in Miami-Dade County.

  21)    At all times material hereto, Defendant was and still is a private entity which owns and

  operates retail locations under the brand name “CHILI’S”. The stores are open to the public, and

  each of Defendant’s locations is defined as a “public accommodation" within the meaning of Title

  III of the ADA because Defendant is a private entity which owns and/or operates “[A] bakery,

  grocery store, clothing store, hardware store, shopping center, restaurant, or other sales or rental

  establishment,” per 42 U.S.C. §12181(7)(E) and 28 C.F.R. §36.104(2).

  22)    Because Defendant is a store open to the public, each of Defendant’s physical stores is a

  place of public accommodation subject to the requirements of the ADA, 42 U.S.C. §12182,

  §12181(7)(B), and its implementing regulations, 28 C.F.R. Part 36.

  23)    At all times material hereto, Defendant was and still is an organization owning and

  operating the website located at https://www.chilis.com/. Since the website is open through the

  internet to the public as an extension of the retail stores, by this nexus the website is an intangible

  service, privilege and advantage of Defendant’s brick and mortar locations, the Defendant has

  subjected itself and the associated website it created and maintains to the requirements of the ADA.


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  The website also services Defendant’s physical stores by providing information on its brand and

  other information that Defendant is interested in communicating to its customers about its physical

  locations.

  24)    Since the website allows the public the ability to view the products available at Defendant’s

  locations, purchase products, through Defendant’s website, subscribe to Defendant’s newsletter,

  create an account and register to track orders, create a wish list, and learn the story behind

  Defendant’s brand, the website is an extension of, and gateway to, Defendant’s physical stores

  which are places of public accommodation pursuant to 42 U.S.C. § 12181(7)(E). By this nexus

  between Defendant’s retail store locations and the Website, and the fact that the Website clearly

  provides support for and is connected to Defendant’s stores for its operation and use, the Website

  is an intangible service, privilege, and advantage of Defendant’s brick-and-mortar stores that must

  comply with all requirements of the ADA. The Website must not discriminate against individuals

  with disabilities, and must not deny those individuals the same full and equal access to and

  enjoyment of the goods, services, privileges, and advantages as afforded the non-visually disabled

  public both online and in the physical stores, which are places of public accommodations subject

  to the requirements of the ADA.

  25)    Plaintiff sought to, seeks to and intends to patronize, in the near future once the Website’s

  access barriers are removed or remedied, one or more of Defendant’s physical retail locations,

  check store hours and product pricing and place online orders. In the alternative, Plaintiff intends

  to monitor the Website in the near future as a tester to ascertain whether it has been remedied and

  updated to interact properly with screen reader software.

  26)    Traveling outside of her home as a visually disabled individual is often a difficult,

  hazardous, frightening, frustrating, and confusing experience, thus the opportunity to shop and pre-


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  shop Defendant’s products, plan her visits, and to compare products, services, prices, sales,

  discounts, and promotions are important and necessary accommodations for Plaintiff because

  Defendant has not provided its business information in any other digital format that is accessible

  for use by blind and visually disabled individuals using screen reader software.

  27)    During the month of April 2025, Plaintiff attempted on a number of occasions to utilize the

  Website to browse through the merchandise and online offers to educate herself as to the

  merchandise, sales, discounts, and promotions being offered, learn about the brick-and-mortar

  location, check store hours, and check product pricing with the intent to make a purchase through

  the Website or in one of the physical locations and with the intent to make a purchase through the

  website or at one of Defendant’s physical stores. Plaintiff also attempted to access and utilize the

  Website in her capacity as a tester to determine whether it was accessible to blind and visually

  disabled persons such as herself who use screen reader software to access and navigate company

  websites.

  28)    Plaintiff utilized ChromeVox (“Screen Reader Software”) that allows individuals who are

  blind and visually disabled to communicate with websites. However, Defendant’s Website

  contains access barriers that prevent free and full use by blind and visually disabled individuals

  using keyboards and available screen reader software. Plaintiff attempted to purchase clothing on

  Defendant’s website. However, the Plaintiff was not able to freely and fully use Defendant’s

  website because it contains access barriers that make it inaccessible to persons with disabilities,

  and for which there is no reasonable accommodation for the Plaintiff.

  29)    Defendant’s Website contains access barriers that prevent free and full use by blind and

  visually disabled individuals using keyboards and available screen reader software. These barriers

  are pervasive and include, but are not limited to:


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        Chili’s: https://www.chilis.com/

        System settings while doing the review:

        Operating system: Windows 11

        Browser: Google Chrome v. 123.0.6312.106

        Screen Reader: NVDA v. 2024.4



        Barriers

           •     User cannot bypass the main menu

           •     User cannot operate the GDPR Modal

           •     User cannot operate the Log In form

           •     User cannot operate the Register form

           •     User cannot operate the “Start Your Order” modal

           •     User cannot discover the cart button

           •     User cannot search for location when starting an order

           •     User cannot use a promo code at checkout



        Violation 1: 2.4.1 Bypass Blocks

        A mechanism is available to bypass blocks of content that are repeated on multiple Web

        pages.

        When the user tabs to the main navigation menu, there is not a bypass block mechanism

        provided to the user. The user is not able to bypass this content.

        Applicable WCAG 2.1 Standard at Issue:2.4.1 Bypass Blocks (Level A)

        URL Where Issue Was Encountered:


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        https://www.chilis.com/

        Screen Capture Evidence:

        https://drive.google.com/file/d/1i7D2DRyORPe8eyF3Jp6LNOFuf9LZXHBi/view?usp=d

        rive_link



        Violation 2: 1.3.2 Meaningful Sequence

        When the sequence in which content is presented affects its meaning, a correct reading

        sequence can be programmatically determined.

        When the user tries to navigate to the GDPR modal, the user is allowed to navigate the

        entire website without closing the modal, therefore the meaningful sequence is not

        preserved. The user is not able to close the GDPR modal.

        Applicable WCAG 2.1 Standard at Issue:1.3.2 Meaningful Sequence (Level A)

        URL Where Issue Was Encountered:

        https://www.chilis.com/

        Screen Capture Evidence:

        https://drive.google.com/file/d/1uDJetmVNIm2QGzJp3tFwq6cIUsIl3-

        00/view?usp=drive_link



        Violation 3: 2.4.3 Focus Order

        If a Web page can be navigated sequentially and the navigation sequences affect meaning

        or operation, focusable components receive focus in an order that preserves meaning and

        operability.




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        When a user tries to navigate the site and close the GDPR popup modal that is displayed,

        the focus order cannot be navigated in a sequential order to preserve operability. The user

        is not able to operate or close the GDPR Modal.

        Applicable WCAG 2.1 Standard at Issue:2.4.3 Focus Order (Level A)

        URL Where Issue Was Encountered:

        https://www.chilis.com/

        Screen Capture Evidence:

        https://drive.google.com/file/d/1uDJetmVNIm2QGzJp3tFwq6cIUsIl3-

        00/view?usp=drive_link



        Violation 4: 1.4.3 Contrast (Minimum)

        The visual presentation of text and images of text has a contrast ratio of at least 4.5:1,

        except for the following: Large Text: Large-scale text and images of large-scale text have

        a contrast ratio of at least 3:1; Incidental: Text or images of text that are part of an

        inactive user interface component, that are pure decoration, that are not visible to anyone,

        or that are part of a picture that contains significant other visual content, have no contrast

        requirement.

        When the user tries to navigate the site and the GDPR popup modal is displayed, because

        the meaningful sequence is not met and the user cannot close the modal, there is content

        that is not visible (below the contrast ratio minimum), when it is behind the GDPR

        popup. The user is not able to operate the site.

        Applicable WCAG 2.1 Standard at Issue:1.4.3 Contrast (Minimum) (Level AA)

        URL Where Issue Was Encountered:


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        https://www.chilis.com/

        Screen Capture Evidence:

        https://drive.google.com/file/d/1uDJetmVNIm2QGzJp3tFwq6cIUsIl3-

        00/view?usp=drive_link



        Violation 5: 3.3.1 Error Identification

        If an input error is automatically detected, the item that is in error is identified and the

        error is described to the user in text.

        When the user tries to Login and does not input a Phone Number or Email, there is no

        message to identify the error. The user is not able to Login.

        Applicable WCAG 2.1 Standard at Issue:3.3.1 Error Identification (Level A)

        URL Where Issue Was Encountered:

        https://www.chilis.com/login

        Screen Capture Evidence:

        https://drive.google.com/file/d/1G9EIskfBoHjOhwHQuJ6UtywAVeoS9Z5O/view?usp=d

        rive_link



        Violation 6: 3.3.2 Labels or Instructions

        Labels or instructions are provided when content requires user input.

        When the user tries to Login, there is not a proper label identifying the Phone Number or

        Email input field. The user is not able to operate the site.

        Applicable WCAG 2.1 Standard at Issue:3.3.2 Labels or Instructions (Level A)

        URL Where Issue Was Encountered:


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        https://www.chilis.com/login

        Screen Capture Evidence:

        https://drive.google.com/file/d/1G9EIskfBoHjOhwHQuJ6UtywAVeoS9Z5O/view?usp=d

        rive_link



        Violation 7: 3.3.1 Error Identification

        If an input error is automatically detected, the item that is in error is identified and the

        error is described to the user in text.

        When the user tries to Register Account and does not input a Search by City, State, ZIP,

        or Delivery Address, there is no message to identify the error. The user is not able to

        Register Account.

        Applicable WCAG 2.1 Standard at Issue:3.3.1 Error Identification (Level A)

        URL Where Issue Was Encountered:

        https://www.chilis.com/register

        Screen Capture Evidence:

        https://drive.google.com/file/d/1SBx_uhygdBsZMZanBPCsYqg323EGAWE8/view?usp

        =drive_link



        Violation 8: 3.3.1 Error Identification

        If an input error is automatically detected, the item that is in error is identified and the

        error is described to the user in text.

        When the user tries to Register Account and does not input a Select a Chili’s Location,

        there is no message to identify the error. The user is not able to Register Account.


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        Applicable WCAG 2.1 Standard at Issue:3.3.1 Error Identification (Level A)

        URL Where Issue Was Encountered:

        https://www.chilis.com/register

        Screen Capture Evidence:

        https://drive.google.com/file/d/1SBx_uhygdBsZMZanBPCsYqg323EGAWE8/view?usp

        =drive_link



        Violation 9: 1.3.2 Meaningful Sequence

        When the sequence in which content is presented affects its meaning, a correct reading

        sequence can be programmatically determined.

        When the user tries to navigate to the Start Your Order modal, the user is allowed to

        navigate the entire website without closing the modal, therefore the meaningful sequence

        is not preserved. The user is not able to close the Start Your Order modal.

        Applicable WCAG 2.1 Standard at Issue:1.3.2 Meaningful Sequence (Level A)

        URL Where Issue Was Encountered:

        https://www.chilis.com/menu?openOUF=true

        Screen Capture Evidence:

        https://drive.google.com/file/d/1w4bKp900eUfCYCSyBZpKeMDs28exYMhA/view?usp

        =drive_link



        Violation 10: 2.4.3 Focus Order




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        If a Web page can be navigated sequentially and the navigation sequences affect meaning

        or operation, focusable components receive focus in an order that preserves meaning and

        operability.

        When the user tries to navigate the site and close the Start Your Order popup modal that

        is displayed, the focus order cannot be navigated in a sequential order to preserve

        operability. The user is not able to operate or close the Start Your Order modal.

        Applicable WCAG 2.1 Standard at Issue:2.4.3 Focus Order (Level A)

        URL Where Issue Was Encountered:

        https://www.chilis.com/menu?openOUF=true

        Screen Capture Evidence:

        https://drive.google.com/file/d/1w4bKp900eUfCYCSyBZpKeMDs28exYMhA/view?usp

        =drive_link



        Violation 11: 1.4.3 Contrast (Minimum)

        The visual presentation of text and images of text has a contrast ratio of at least 4.5:1,

        except for the following: Large Text: Large-scale text and images of large-scale text have

        a contrast ratio of at least 3:1; Incidental: Text or images of text that are part of an

        inactive user interface component, that are pure decoration, that are not visible to anyone,

        or that are part of a picture that contains significant other visual content, have no contrast

        requirement.

        When the user tries to navigate the site and the Start Your Order popup modal is

        displayed, because the meaningful sequence is not met and the user cannot close the




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        modal, there is content that is not visible (below the contrast ratio minimum), when it is

        behind the Start Your Order popup. The user is not able to operate the site.

        Applicable WCAG 2.1 Standard at Issue:1.4.3 Contrast (Minimum) (Level AA)

        URL Where Issue Was Encountered:

        https://www.chilis.com/menu?openOUF=true

        Screen Capture Evidence:

        https://drive.google.com/file/d/1w4bKp900eUfCYCSyBZpKeMDs28exYMhA/view?usp

        =drive_link



        Violation 12: 2.1.1 Keyboard

        All functionality of the content is operable through a keyboard interface without requiring

        specific timings for individual keystrokes, except where the underlying function requires

        input that depends on the path of the user's movement and not just the endpoints.

        When the user tries to View Cart, the Cart Button link is not operable through a keyboard

        interface. The user is not able to operate the site.

        Applicable WCAG 2.1 Standard at Issue:2.1.1 Keyboard (Level A)

        URL Where Issue Was Encountered:

        https://www.chilis.com/, https://www.chilis.com/menu

        Screen Capture Evidence:

        https://drive.google.com/file/d/1w4bKp900eUfCYCSyBZpKeMDs28exYMhA/view?usp

        =drive_link



        Violation 13: 2.4.4 Link Purpose (In Context)


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        The purpose of each link can be determined from the link text alone or from the link text

        together with its programmatically determined link context, except where the purpose of

        the link would be ambiguous to users in general.

        When the user tries to View Cart, the link label provided does not properly describe the

        purpose of the link. The user is not able to understand the purpose of the link and is not

        able to View Cart.

        Applicable WCAG 2.1 Standard at Issue:2.4.4 Link Purpose (In Context) (Level A)

        URL Where Issue Was Encountered:

        https://www.chilis.com/, https://www.chilis.com/menu

        Screen Capture Evidence:

        https://drive.google.com/file/d/1w4bKp900eUfCYCSyBZpKeMDs28exYMhA/view?usp

        =drive_link



        Violation 14: 3.3.1 Error Identification

        If an input error is automatically detected, the item that is in error is identified and the

        error is described to the user in text.

        When the user tries to Search a location when starting an order and does not input a Enter

        a Location, there is no message to identify the error. The user is not able to Search a

        location when starting an order.

        Applicable WCAG 2.1 Standard at Issue:3.3.1 Error Identification (Level A)

        URL Where Issue Was Encountered:

        https://www.chilis.com/menu/fajitas/pick-any-2

        Screen Capture Evidence:


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          https://drive.google.com/file/d/1jIFpdmHLT94JyFyCfp-

          WihcZTgJ4OY6A/view?usp=drive_link



          Violation 15: 3.3.1 Error Identification

          If an input error is automatically detected, the item that is in error is identified and the

          error is described to the user in text.

          When the user tries to Add promotional Code at checkout and does not input a Add

          promotional code, there is no message to identify the error. The user is not able to Add

          promotional Code at checkout.

          Applicable WCAG 2.1 Standard at Issue:3.3.1 Error Identification (Level A)

          URL Where Issue Was Encountered:

          https://www.chilis.com/cart

          Screen Capture Evidence:

          https://drive.google.com/file/d/1h9dEfMe_soDgxUOHmzH119Uoxb65446d/view?usp=d

          rive_link

   30)    Although the Website appeared to have an “accessibility” statement displayed and an

   “accessibility” widget/plugin added, the “accessibility” statement and widget/plugin, when tested,

   still could not be effectively accessed by, and continued to be a barrier to, blind and visually

   disabled persons, including Plaintiff as a completely blind person. Plaintiff, although she attempted

   to access the statement, thus, was unable to receive any meaningful or prompt assistance through

   the “accessibility” statement and the widget/plugin to enable her to quickly, fully, and effectively

   navigate the Website.




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   31)     The fact that Plaintiff could not communicate with or within the Website left her feeling

   excluded, as she is unable to participate in the same shopping experience, with the same access to

   the merchandise, sales, discounts, and promotions, as provided at the Website and in the physical

   locations as the non-visually disabled public.

   32)     Plaintiff desires and intends, in the near future once the Website’s access barriers are

   removed or remedied, to patronize one or more of Defendant’s physical stores and to use the

   Website, but she is presently unable to do so as she is unable to effectively communicate with

   Defendant, due to her severe visual disability and the Website’s access barriers. Alternatively, as

   a tester using screen reader software, Plaintiff is unable to effectively access, navigate, and

   communicate with Defendant through the Website due to her severe visual disability and the

   Website’s access barriers. Thus, Plaintiff, as well as others who are blind and with visual

   disabilities, will suffer continuous and ongoing harm from Defendant’s intentional acts, omissions,

   policies, and practices as set forth herein unless properly enjoined by this Court.

   33)     On information and belief, Defendant has not initiated a Web Accessibility Policy to ensure

   full and equal use of the Website by individuals with disabilities.

   34)     On information and belief, Defendant has not instituted a Web Accessibility Committee to

   ensure full and equal use of Website by individuals with disabilities.

   35)     On information and belief, Defendant has not designated an employee as a Web

   Accessibility Coordinator to ensure full and equal use of the Website by individuals with

   disabilities.

   36)     On information and belief, Defendant has not instituted a Web Accessibility User

   Accessibility Testing Group to ensure full and equal use of the Website by individuals with

   disabilities.


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   37)    On information and belief, Defendant has not instituted a User Accessibility Testing Group

   to ensure full and equal use of the Website by individuals with disabilities.

   38)    On information and belief, Defendant has not instituted a Bug Fix Priority Policy.

   39)    On information and belief, Defendant has not instituted an Automated Web Accessibility

   Testing program.

   40)    Defendant has not created and instituted an effective Specialized Customer Assistance line

   or service or email contact mode for customer assistance for the visually disabled.

   41)    Defendant has not created and instituted on the Website a useful or accessible page for

   individuals with disabilities, nor displayed a link and information hotline, nor created an

   information portal explaining when and how Defendant will have the Website, applications, and

   digital assets accessible to the visually disabled or blind community.

   42)    The Website does not meet the Web Content Accessibility Guidelines (“WCAG”) 2.0

   Level AA or higher versions of web accessibility.

   43)    Defendant has not disclosed to the public any intended audits, changes, or lawsuits to

   correct the inaccessibility of the Website to visually disabled individuals who want the safety and

   privacy of purchasing Defendant’s products offered on the Website and in the physical stores from

   their homes.

   44)    Defendant thus has not provided full and equal access to and enjoyment of the goods,

   services, facilities, privileges, advantages, and accommodations provided by and through the

   Website and their physical stores in contravention of the ADA.

   45)    Public accommodations under the ADA must ensure that their places of public

   accommodation provide effective communication for all members of the general public, including

   individuals with visual disabilities such as Plaintiff.


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   46)     The broad mandate of the ADA is to provide an equal opportunity for individuals with

   disabilities to participate in and benefit from all aspects of American civic and economic life. That

   mandate extends to internet shopping websites such as the Website at issue in the instant action.

   47)     Defendant is, and at all relevant times has been, aware of the barriers to effective

   communication within the Website which prevent individuals with visual disabilities from the

   means to comprehend information presented therein.

   48)     Defendant is, and at all relevant times has been, aware of the need to provide full access to

   all visitors to the Website.

   49)     The barriers that exist on the Website result in discriminatory and unequal treatment of

   individuals with visual disabilities, including Plaintiff.

   50)     Plaintiff has no plain, adequate, or complete remedy at law to redress the wrongs alleged

   hereinabove, and this suit for declaratory judgment and injunctive relief is her only means to secure

   adequate and complete redress from Defendant’s unlawful and discriminatory practices in

   connection with its website access and operation.

   51)     Notice to Defendant is not required because of Defendant’s failure to cure the violations.

   52)     Enforcement of Plaintiff’s rights under the ADA is right and just pursuant to 28 U.S.C.

   §§2201 and 2202.

   53)     Plaintiff has retained the undersigned attorneys to represent her in this case and has agreed

   to pay them a reasonable fee for their services.



   COUNT I – VIOLATION OF THE ADA

   54)     Plaintiff realleges paragraphs 1 through 53 as if set forth fully herein.




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   55)    Pursuant to 42 U.S.C. §12181(7)(B), Defendant is a public accommodation under the ADA

   and thus is subject to the ADA.

   56)    Pursuant to 42 U.S.C. §12181(7)(B), the Website is covered under the ADA because it

   provides the general public with the ability to view the products available at Defendant’s locations,

   purchase products through Defendant’s website, subscribe to Defendant’s newsletter, create an

   account and register to track orders, create a wish list, and learn the story behind Defendant’s

   brand. The Website thus is an extension of, gateway to, and intangible service, privilege, and

   advantage of Defendant’s physical locations. Further, the Website also serves to augment

   Defendant’s physical stores by providing the public information about the stores and by educating

   the public as to Defendant’s brand and available products merchandise sold through the Website

   and in the physical stores.

   57)    Under Title III of the ADA, 42 U.S.C. §12182(b)(1)(A)(II), it is unlawful discrimination

   to deny individuals with disabilities or a class of individuals with disabilities an opportunity to

   participate in or benefit from the goods, services, facilities, privileges, advantages, or

   accommodation, which is equal to the opportunities afforded to other individuals.

   58)    Specifically, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(II), unlawful

   discrimination includes, among other things, “a failure to make reasonable modifications in

   policies, practices, or procedures, when such modifications are necessary to afford such goods,

   services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

   unless the entity can demonstrate that making such modifications would fundamentally alter the

   nature of such goods, services, facilities, privileges, advantages or accommodations.”

   59)    In addition, under Title III of the ADA, 42 U.S.C. §12182(b)(2)(A)(III), unlawful

   discrimination includes, among other things, “a failure to take such steps, as may be necessary to


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   ensure that no individual with a disability is excluded, denied services, segregated or otherwise

   treated differently than other individuals because of the absence of auxiliary aids and services,

   unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

   the good, service, facility, privilege, advantage, or accommodation being offered or would result

   in an undue burden.”

   60)    The Website must comply with the ADA, but it does not as specifically alleged hereinabove

   and below.

   61)    Because of the inaccessibility of the Website, individuals with visual disabilities are denied

   full and equal access to and enjoyment of the goods, information, and services that Defendant has

   made available to the public on the Website and in their physical stores in violation of 42 U.S.C.

   §12101, et seq, and as prohibited by 42 U.S.C. §12182, et seq.

   62)    The Website was subsequently visited by Plaintiff’s expert in April and the expert

   determination was that the same access barriers that Plaintiff had initially encountered, as well as

   numerous additional access barriers, existed. Defendant thus has made insufficient material

   changes or improvements to the Website to enable its full use and enjoyment by, and accessibility

   to, blind and visually disabled persons such as Plaintiff. Also, when the Website was visited by

   the expert, although the Website appeared to have an “accessibility” statement and widget/plugin

   linked on and displayed from its home page, the “accessibility” statement and widget/plugin, when

   tested, still could not be effectively used or accessed by, and continued to be a barrier to, blind and

   visually disabled persons such as Plaintiff. Defendant furthermore has not disclosed to the public

   any intended audits, changes, or lawsuits to correct the inaccessibility of the Website to visually

   disabled individuals, nor has it posted on the Website an effective and useful “accessibility” notice,

   statement, or policy to provide blind and visually disabled person such as Plaintiff with a viable


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   alternative means to access and navigate the Website. Defendant thus has failed to make reasonable

   modifications in its policies, practices, or procedures when such modifications are necessary to

   afford goods, services, facilities, privileges, advantages, or accommodations to individuals with

   disabilities, in violation of 28 C.F.R. §36.302. The lack of a viable and effective “accessibility”

   notice, policy, or statement and the numerous access barriers as set forth in the Declaration of

   Plaintiff’s expert, Ryan Browne, attached hereto and the contents of which are incorporated herein

   by reference, continue to render the Website not fully accessible to users who are blind and visually

   disabled, including Plaintiff.

   63)    More violations may be present on other pages of the Website, which can and will be

   determined and proven through the discovery process in this case.

   64)    There are readily available, well-established guidelines on the internet for making Websites

   accessible to the blind and visually disabled. These guidelines have been followed by other large

   business entities in making their websites accessible. Examples of such guidelines include, but are

   not limited to, adding alt-text to graphics and ensuring that all functions can be performed using a

   keyboard. Incorporating such basic components to make the Website accessible would neither

   fundamentally alter the nature of Defendant’s business nor would it result in an undue burden to

   Defendant.

   65)    Defendant has violated the ADA -- and continue to violate the ADA -- by denying access

   to the Website by individuals such as Plaintiff with visual disabilities who require the assistance

   of interface with screen reader software to comprehend and access internet websites. These

   violations within the Website are ongoing.

   66)    The ADA requires that public accommodations and places of public accommodation

   ensure that communication is effective.


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   67)    According to 28 C.F.R. §36.303(b)(1), auxiliary aids and services include “voice, text, and

   video-based telecommunications products and systems”.           Indeed, 28 C.F.R.§36.303(b)(2)

   specifically states that screen reader software is an effective method of making visually delivered

   material available to individuals who are blind or have low vision.

   68)    According to 28 C.F.R. §36.303(c), public accommodations must furnish appropriate

   auxiliary aids and services where necessary to ensure effective communication with individuals

   with disabilities: “In order to be effective, auxiliary aids and services must be provided in

   accessible formats, in a timely manner, and in such a way as to protect the privacy and

   independence of the individual with a disability,” 28 C.F.R. §36.303(c)(1)(ii).

   69)    Part 36 of Title 28 of the C.F.R. was designed and is implemented to effectuate subtitle A

   of Title III of the ADA, which prohibits discrimination on the basis of disability by public

   accommodations, and requires places of public accommodation to be designed, constructed, and

   altered in compliance with the accessibility standards established by Part 36.

   70)    As alleged hereinabove, the Website has not been designed to interface with the widely

   and readily available technologies that can be used to ensure effective communication, and thus

   violates the ADA.

   71)    As a direct and proximate result of Defendant’s failure to provide an ADA compliant

   Website, with a nexus to their brick-and-mortar stores, Plaintiff has suffered an injury in fact by

   being denied full access to, enjoyment of, and communication with Defendant’s Website and its

   physical stores.

   72)    Because of the inadequate development and administration of the Website, Plaintiff is

   entitled to injunctive relief pursuant to 42 U.S.C. §12133 and 28 C.F.R. §36.303, to remedy the

   ongoing disability discrimination.


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   73)    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant Plaintiff

   appropriate and necessary injunctive relief, including an order to:

           i.     Require Defendant to adopt and implement a web accessibility policy to make

           publicly available and directly link from the homepage of the Website to a functional

           statement as to the Defendant’s policy to ensure persons with disabilities have full and

           equal access to and enjoyment of the goods, services, facilities, privileges, advantages,

           and accommodations through the Website and the physical locations.

           ii.    Require Defendant to take the necessary steps to make the Website readily

           accessible to and usable by blind and visually disabled users, and during that time period

           prior to the Website’s being made readily accessible, provide an effective alternative

           method for individuals with visual disabilities to access the information available on the

           Website until such time that the requisite modifications are made, and

           iii.   Require Defendant to provide the appropriate auxiliary aids such that individuals

           with visual disabilities will be able to effectively communicate with the Website for

           purposes of viewing and locating Defendant’s stores and becoming informed of and

           purchasing Defendant’s products, and during that time period prior to the Website’s being

           designed to permit individuals with visual disabilities to effectively communicate, to

           provide an alternative method for individuals with visual disabilities to effectively

           communicate for such goods and services made available to the general public through

           the Website and the physical stores.

           iv.    Plaintiff is entitled to recover her reasonable attorney’s fees, costs, and expenses

           pursuant to the ADA. To that end, Plaintiff has been obligated to retain the undersigned




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           counsel for the filing and prosecution of this action and has agreed to pay them a

           reasonable fee for their services.

   74)    WHEREFORE, Plaintiff requests entry of judgment in her favor and against Defendant for

   the following relief:

          a.      A declaration that Defendant’s website is in violation of the ADA;

          b.      An Order requiring Defendant, by a date certain, to update its website, and continue

          to monitor and update its website on an ongoing basis, to remove barriers in order that

          individuals with visual disabilities can access, and continue to access, the website and

          effectively communicate with the website to the full extent required by Title III of the

          ADA;

          c.      An Order requiring Defendant, by a date certain, to clearly display the universal

          disabled logo within its website, wherein the logo 1would lead to a page which would state

          Defendant’s accessibility information, facts, policies, and accommodations. Such a clear

          display of the disabled logo is to ensure that individuals who are disabled are aware of the

          availability of the accessible features of the website;

          d.      An Order requiring Defendant, by a date certain, to provide ongoing support for

          web accessibility by implementing a website accessibility coordinator, a website

          application accessibility policy, and providing for website accessibility feedback to insure

          compliance thereto.




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        e.        An Order directing Defendant, by a date certain to evaluate its policies, practices

        and procedures toward persons with disabilities, for such reasonable time to allow

        Defendant to undertake and complete corrective procedures to its website;

        f.        An Order directing Defendant, by a date certain, to establish a policy of web

        accessibility and accessibility features for its website to insure effective communication

        for individuals who are visually disabled;

        g.        An Order requiring, by a date certain, that any third-party vendors who participate

        on Defendant’s website to be fully accessible to the visually disabled;

        h.        An Order directing Defendant, by a date certain and at least once yearly thereafter,

        to provide mandatory web accessibility training to all employees who write or develop

        programs or code for, or who publish final content to, Defendant’s website on how to

        conform all web content and services with ADA accessibility requirements and applicable

        accessibility guidelines;

        i.        An Order directing Defendant, by a date certain and at least once every three

        months thereafter, to conduct automated accessibility tests of its website to identify any

        instances where the website is no longer in conformance with the accessibility

        requirements of the ADA and any applicable accessibility guidelines, and further directing

        Defendant to send a copy of the twelve (12) quarterly reports to Plaintiff’s counsel for

        review.

        j.        An Order directing Defendant, by a date certain, to make publicly available and

        directly link from its website homepage, a statement of Defendant’s Accessibility Policy

        to ensure the persons with disabilities have full and equal enjoyment of its website and




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          shall accompany the public policy statement with an accessible means of submitting

          accessibility questions and problems.

          k.      An award to Plaintiff of her reasonable attorney’s fees and costs pursuant to in 42

          U.S.C. §§12181-12189, and pursuant to such other laws and statutes that may apply, and

          further relief as the Court deems just and equitable.



   COUNT II – TRESPASS

   Plaintiff realleges paragraphs 1 through 53 as if set forth herein.

   75)    Defendant’s website contains software analytics.               Since Plaintiff has navigated

   Defendant’s website as stated herein, Plaintiff’s computer and the personal information and

   browsing history stored therein, has suffered a trespass by Defendant.

   76)    Plaintiff never consented to and was unaware that Defendant’s website was placing

   software on her computer.

   77)    The “pop-up” or banner notice that appears on Defendant’s website does not properly

   audibilize the cookies policy in a way where a visually disabled person like the Plaintiff can

   properly understand or give informed consent to allow tracking cookies to be placed on her

   computer.

   78)    Defendant committed common law trespass in violation of Florida law against Plaintiff

   because Plaintiff did not consent to the placement of tracking and information securing software

   on her personal computer, which was done without her knowledge and consent.

   79)    Defendant’s trespass has damaged Plaintiff by affecting the condition and value of her

   computer.




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   80)    On its website, Defendant has an internet privacy policy section that can only be accessed

   by clicking a barely visible section at the bottom of the page called “Cookies Policy”, providing

   that they use cookies and similar technologies to collect a consumer’s information and they obtain

   non-public information from their users for their own advertising and marketing purposes by

   placing software on its website that collects a website user’s preferences and internet browsing

   habits as follows:

          Information We May Generate or Collect Automatically

          We may generate or collect automatically certain types of Personal Information when you

          interact with us and our Services. The categories of Personal Information we may collect

          in this context include:



          Identifiers, such as information that uniquely identifies you or the device through which

          you interact with our Services, such as your name, e-mail address, username, cookie

          identifiers, mobile advertising identifiers, and other unique identifiers.



          Device and Internet Browsing Information, including information about your browsing

          activity, IP address, unique device identifiers, cookie identifiers, device and browser

          settings and information, and Internet service provider information. We may also collect

          information about when and how you access and use our websites and applications, such

          as the date and time of your visit or use, the websites visited before and after visiting our

          websites, how you navigate and what you search for on the websites or apps, the pages

          visited on the websites, the types of content you interact with, and the frequency and

          durations of your activities.


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        Audio, electronic, visual, or similar information, such as video recordings we may take at

        our restaurants.



        Commercial information, such as your transaction history and record of services or

        products you obtained from us, including on behalf of an organization you are affiliated

        with.



        Location Information, collected through our Sites, Apps or in-restaurant technology may

        collect information about the location of your mobile device or computer using

        geolocation and technology such as GPS, Wi-Fi, Bluetooth, or cell tower proximity. For

        most mobile devices and computer systems, you can disable the collection of this

        information by using the device or web-browser settings. If you have any questions

        about how to prevent your devices from sharing their locations, we recommend you

        contact your mobile-device service provider, the device manufacturer, or your web-

        browser provider. Some of our online Services and in-restaurant technologies may not

        work properly without information about your location.



        Inferences drawn from other Personal Information we collect about you that may relate to

        your preferences or other matters.



        We, our service providers, and certain third parties we work with may use cookies, pixel

        tags, or similar tracking technologies (“Tracking Technologies”) to gather the


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        information described above when you use, access, or otherwise interact with our

        Services. Below we have described how we use Tracking Technologies. The “Managing

        Cookies and Other Tracking Technologies” section below describe your choices relating

        to our use of Tracking Technologies.



        Cookies. Cookies are small text files placed in device browsers that store preferences and

        facilitate and enhance your experience.



        Web Beacons, Clear GIF, Pixels Tag, and Script. These Tracking Technologies are small

        transparent image files or lines of code to record how you interact with our Services. For

        example, the use of these technologies may allow us to record that a user has visited a

        particular web page or clicked on a particular feature. We may also include these types of

        Tracking Technologies in e-mails to understand whether messages have been opened,

        acted on, or forwarded.



        Our use of Tracking Technologies generally falls into the following categories:

        Essential These Tracking Technologies are necessary for the website Sites to function

                 and cannot be switched off in our systems. They are usually only set in

                 response to actions made by you which amount to a request for services, such

                 as setting your privacy preferences, logging in or filling in forms. You can set

                 your browser to block or alert you about these cookies, but this may disable

                 certain functionalities available to other users of the Services. These Tracking

                 Technologies do not store any personally identifiable information.


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   81)    Due to Plaintiff’s disability, she could not understand Defendant’s website and she could

   not give informed consent to Defendant’s installation of data and information tracking software

   on her computer. Defendant also could not give informed consent to Defendant’s collection of her

   browsing history and the placement of analytics on her computer.

   82)    Thus, Plaintiff has no adequate remedy at law to redress Defendant’s knowing and reckless

   disregard for Plaintiff’s right to exclude others from her computer and determine which programs

   should be installed and operated on her computer.



   WHEREFORE, Plaintiff demands judgment against Defendant for Plaintiff’s damages, interest,

   costs, and such further relief as the Court deems just and equitable.




                                                 Submitted by:

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